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 6
                                 UNITED STATES DISTRICT COURT
 7                              CENTRAL DISTRICT OF CALIFORNIA
                                      WESTERN DIVISION
 8

 9   ROBERT A.STEPHENS,                            ) Case No.:CV10-9475
                                                   )
10                 Plaintiff,                      ) VOLUNTARY DISMISSAL
                                                   )
11          v.                                     )
                                                   )
12   NCO FINANCIAL SYSTEMS, INC.,                  )
                                                   )
13                 Defendant.                      )
                                                   )
14

15
                             VOLUNTARY DISMISSAL WITH PREJUDICE
16
            Plaintiff, ROBERT A. STEPHENS, by and through his attorneys, KROHN & MOSS,
17
     LTD., hereby voluntarily dismisses the above-entitled case with prejudice.
18
     Dated: April 12, 2011                               KROHN & MOSS, LTD.
19

20
                                                         By:_/s/ Ryan Lee___
21                                                        Ryan Lee, Esq.
                                                          Attorney for Plaintiff,
22                                                        ROBERT STEPHENS
23

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                                        VOLUNTARY DISMISSAL
